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                        IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF ARKANSAS
                                  WESTERN DIVISION

UNITED STATES OF AMERICA                                                                 PLAINTIFF

v.                                   No. 4:12CR00041-02 JLH

BOB SAM CASTLEMAN                                                                     DEFENDANT

                                              ORDER

       During the trial of Bob Sam Castleman, issues relating to the testimony of Robert Jerrod

Castleman and the health of Bob Sam Castleman were presented to the Court in sealed motions and

considered by the Court during in camera hearings. Because the trial has been concluded, there is

no longer any reason for the motions or the transcripts to be sealed. Therefore, the Court orders that

the motions and transcripts be unsealed.

       IT IS SO ORDERED this 26th day of December, 2013.




                                                      J. LEON HOLMES
                                                      UNITED STATES DISTRICT JUDGE
